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                Attachment 1
                                                                                                              CBD v. EPA, No. 1:21-cv-00119 (RDM)

                           Plaintiffs’ Claims Are Not Justiciable
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               Claim                    No Informational Injury             No Substantive Injury           Not Ripe/Not Final

     EPA complete application finding
1                                                                                                                  
     violates CWA/APA
     EPA approval of FL’s program                                                      
2                                                  
     violates CWA/APA                                                    Crow Creek, Waterkeeper Alliance
     FWS BiOp + “No Jeopardy”
3
     violate ESA/APA
                                                                                       *                            
     FWS BiOp + Incidental Take
4
     Statement violate ESA/APA
                                                                                       *                            
     EPA “No Effect” for NMFS species
5
     violates CWA/APA
                                                                                       *                            
     FWS Incidental Take “scheme”
6
     violates APA
                                                                                       *                    Arguably not ripe
     Corps “Retained Waters List”
7
     violates RHA/APA
                                                                                       *                            
     EPA use of Programmatic BiOp
10
     violates ESA
                                                                                       *                    Arguably not ripe
11   EPA failed to consult w/ NMFS                                                     *                            
     EPA failed to consult w/ FWS
12
     (sea turtles)
                                                                                       *                            
     FWS “Technical Assistance
13
     Process” is ultra vires
                                                                                       *                    Arguably not ripe

                                                                    * - Plaintiffs do not prove/rely on substantive injuries.
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Plaintiffs’ Aesthetic and Recreational Injuries Are Speculative
Under Clapper, no injury to Plaintiffs unless all “dominos” fall. (FL Br., Dkt. 101 at 45; FL Reply Br., Dkt. 107 at 21-22)




FDEP proposes to            EPA fails to convince       FDEP proceeds to             Pls file administrative     Project proceeds in a
issue 404 permit that       FDEP to resolve the         issue the permit             challenge                   manner that actually
would harm Pls,             issue, and EPA neither      without correcting           (automatically              harms Pls' cognizable
and Pls submit              objects to nor              concerns submitted in        forestalls final agency     interests.
comments.                   federalizes the permit.     the public comment           action). FL admin hr'g
                                                        process.                     and judicial review
                                                                                     results in no changes
                                                                                     to project.
